






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00369-CR


NO. 03-01-00370-CR







Jennifer Blocker, Appellant



v.



The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW NO. 1 OF TRAVIS COUNTY


NOS. 579,509 &amp; 579,510, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING







Jennifer Blocker was convicted of speeding and failing to appear by the Lakeway
Municipal Court of Record No. 1.  Thirteen days following her convictions in the municipal court,
Blocker filed an appeal bond in each case and the records were forwarded to the county court at law. 
Blocker then moved to transfer each cause to "one of the Travis County Courts at Law that tries
criminal cases for a trial de novo."  The county court at law overruled the motions.  The court later
dismissed Blocker's appeals for want of jurisdiction because she failed to perfect her appeals
pursuant to either government code section 30.00014 or code of criminal appeals article 45.0426. 
Tex. Gov't Code Ann. § 30.00014 (West Supp. 2002); Tex. Code Crim. Proc. Ann. art. 45.0426
(West Supp. 2002).

Blocker's sole point of error is that the county court at law erred by overruling her
motions to set the cases for trial de novo.  Blocker does not challenge the court's dismissals for want
of jurisdiction.  Because the dismissals are not challenged, we do not reach the ruling on the motions
to transfer.

The county court at law's judgments are affirmed.



				                                                                                   

				Jan P. Patterson, Justice

Before Justices Kidd, Yeakel and Patterson

Affirmed on Both Causes

Filed:   February 22, 2002

Do Not Publish


